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                          IN THE UNITED STATES DISTRICT ~TY
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


      UNITED STATES OF AMERICA

                   v.                                     Case No. 3:18 CR 00011 (MFU)

      JAMES ALEX FIELDS


                                         PLEA AGREEMENT

              I have agreed to enter into a plea agreement with the United States of America,
      pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The terms and conditions
      of this agreement are as follows:

      A. CHARGE(S) TO WIDCH I AM PLEADING GUILTY AND WAIVER OF
         RIGHTS

         1. The Charges and Potential Punishment

             My attorney has informed me of the nature of the charges and the elements of the
      charges that must be proved by the United States beyond a reasonable doubt before I could
      be found guilty as charged.

             I will enter a plea of guilty to Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15,
      16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28 and 29 of the Indictment.

            Count 1 charges me with a Hate Crime Act Resulting in Death, in violation of 18
      U.S.C. § 249(a)(l). The maximum statutory penalty is a fine of $250,000 and/or
      imprisonment for a term of life, plus a term of five years of supervised release.

              Counts 2 through 29 each charge me with a Hate Crime Act Involving an Attempt
      to Kill, in violation of 18 U.S.C. § 249(a)(l). The maximum statutory penalty for each of
      these counts is a fine of $250,000 and/or imprisonment for a term of life, plus a term of
      five years of supervised release.




                                                                       Defendant's Initials:   JF
                                                Page 1 of 14



     Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 1 of 14 Pageid#: 69
         I understand restitution may be ordered, my assets may be subject to forfeiture, and
 fees may be imposed to pay for incarceration, supervised release, and costs of prosecution.        \
 In addition, a $100 special assessment, pursuant to 18 U.S.C. § 3013, will be imposed per
 felony count of conviction. I further understand my supervised release may be revoked if
 I violate its terms and conditions. I understand a violation of supervised release increases
 the possible period of incarceration.

        I am pleading guilty as described above because I am in fact guilty and because I
 believe it is in my best interest to do so and not because of any threats or promises. There
 has been no promise made whatsoever by anyone as to what the final disposition of this
 matter will be.

    2. Waiver of Constitutional Rights Upon a Plea of Guilty

        I acknowledge I have had all of my rights explained to me and I expressly recognize
 I have the following constitutional rights and, by voluntarily pleading guilty, I knowingly
 waive and give up these valuable constitutional rights:

        a.The right to plead not guilty and persist in that plea;
        b.The right to a speedy and public jury trial;
        c.The right to assistance of counsel at that trial and in any subsequent appeal;
        d.The right to remain silent at trial;
        e.The right to testify at trial;
        f.The right to confront and cross-examine witnesses called by the government;
        g.The right to present evidence and witnesses in my own behalf;
        h.The right to compulsory process of the court;
       1. The right to compel the attendance of witnesses at trial;
       J. The right to be presumed innocent;
       k. The right to a unanimous guilty verdict; and
       1. The right to appeal a guilty verdict.

    3. Dismissal of Counts

        If I comply with my obligations under the plea agreement, the United States will
 move, at sentencing, that I be dismissed as a defendant in Count 30. I stipulate and agree:
 the United States had probable cause to bring this count which is being dismissed under
 this agreement; this charge was not frivolous, vexatious or in bad faith; and I am not a
 "prevailing party" with regard to this charge. I further waive any claim for attorney's fees
 and other litigation expenses arising out of the investigation or prosecution of this matter.



                                                               Defendant's Initials:   _,JF"'----
                                         Page 2 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 2 of 14 Pageid#: 70
 B. SENTENCING PROVISIONS

    1. General Matters

        I understand the determination of what sentence should be imposed, within the
 confmes of any applicable statutory minimums and maximums, is in the sole discretion of
 the Court subject to its consideration of the United States Sentencing Guidelines
 ("guidelines" or "U.S.S.G") and the factors set forth at 18 U.S.C. § 3553(a). I understand
 I will have an opportunity to review a copy of my presentence report in advance of my
 sentencing hearing and may file objections, as appropriate. I will have an opportunity at
 my sentencing hearing to present evidence, bring witnesses, cross-examine any witnesses
 the government calls to testify, and argue to the Court what an appropriate sentence should
 be within the confmes of the terms of this agreement.

        I understand I will not be eligible for parole during any term of imprisonment
 imposed. I understand the Court is not bound by any recommendation or stipulation
 contained in this agreement and may sentence me up to the statutory maximum. I
 understand I will not be allowed to withdraw my plea of guilty if the Court disregards the
 stipulations and/or recommendations set forth in the plea agreement.

         I understand if the sentence is more severe than I expected, I will have no right to
 withdraw my plea. I have discussed sentencing issues with my attorney and realize there
 is a substantial likelihood I will be incarcerated.

    2. Sentencing Guidelines

        I stipulate and agree that all matters pertaining to any of the counts of the charging
 documents, including any dismissed counts, are relevant conduct for purposes of
 sentencing.

        The parties agree  theJ~      !tion of the United States Sentencing Guidelines
 Manual applies to any guidelines calculation made pertaining to my offenses. I stipulate
 that the following guideline sections are applicable to my conduct:

                   2A1.1   43 First Degree Murder (Count 1)
                 3A1.1(a) + 3 Hate Crime Motivation (Counts 1 through 29)




                                                               Defendant's Initials:   ...,JE!<.L---
                                         Page 3 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 3 of 14 Pageid#: 71
       The United States stipulates that the guideline sections set forth in this section
 should apply to my conduct. I understand other guideline sections may be applicable to
 my case and the United States and I will be free to argue whether these sections should or
 should not apply; to the extent the arguments are not inconsistent with the stipulations,
 recommendations, and terms set forth in this plea agreement.

         I agree to accept responsibility for my conduct. If I comply with my obligations
 under this plea agreement and accept responsibility for my conduct, the United States will
 recommend the Court grant me a two-level reduction in my offense level, pursuant to
 U.S.S.G. § 3El.l(a) and, if applicable, at sentencing, will move that I receive a one-level
 reduction in my offense level, pursuant to U.S.S.G. § 3El.l(b), for purposes of any
 guidelines calculation. However, I stipulate that if I fail to accept responsibility for my
 conduct or fail to comply with any provision of this plea agreement, I should not receive
 credit for acceptance of responsibility.

 -2,6> \ 8'Prnally, the parties stipulate and agree that, after applying all appropriate provisions
 of th~ Guidelines Manual, the applicable guideline range in my case is a term of life
 imprisonment.

     3. Monetary Obligations

         a. Special Assessments, Fines and Restitution

        I understand persons convicted of crimes are required to pay a mandatory
 assessment of $100.00 per felony count of conviction. I agree I will submit to the U.S.
 Clerk's Office, a certified check, money order, or attorney's trust check, made payable to
 the "Clerk, U.S. District Court" for the total amount due for mandatory assessments prior
 to entering my plea of guilty.

         I agree to pay restitution for the entire scope of my criminal conduct, including, but
 not limited to, all matters included as relevant conduct. In addition, I agree to pay any
 restitution required by law, including, but not limited to, amounts due pursuant to 18 U.S.C.
 §§ 2259, 3663, and/or 3663A. I understand and agree that a requirement I pay restitution
 for all of the above-stated matters will be imposed upon me as part of any final judgment
 in this matter.

         I further agree to make good faith efforts toward payment of all mandatory
 assessments, restitution and fines, with whatever means I have at my disposal. I agree
 failure to do so will constitute a violation of this agreement. I will execute any documents



                                                                   Defendant's Initials:    JF
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                                            Page4 of14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 4 of 14 Pageid#: 72
 necessary to release the funds I have in any repository, bank, investment, other financial
 institution, or any other location in order to make partial or total payment toward the
 mandatory assessments, restitution and fines imposed in my case.

        I fully understand restitution and forfeiture are separate financial obligations which
 may be imposed upon a criminal defendant. I further understand there is a process within
 the Department of Justice whereby, in certain circumstances, forfeited funds may be
 applied to restitution obligations. I understand no one has made any promises to me that
 such a process will result in a decrease in my restitution obligations in this case.

        I understand and agree, pursuant to 18 U.S.C. §§ 3613 and 3664(m), whatever
 monetary penalties are imposed by the Court will be due immediately and subject to
 immediate enforcement by the United States as provided for by statute. I understand if the
 Court imposes a schedule of payments, that schedule is only a minimum schedule of
 payments and not the only method, nor a limitation on the methods, available to the United
 States to enforce the judgment.

        I agree to grant the United States a wage assignment, liquidate assets, or complete
 any other tasks which will result in immediate payment in full, or payment in the shortest
 time in which full payment can be reasonably made as required under 18 U.S. C.§ 3572(d).

        I expressly authorize the United States Attorney's Office to obtain a credit report on
 me in order to evaluate my ability to satisfy any financial obligation imposed by the Court.

         I agree that the following provisions, or words of similar effect, should be included
 as conditions of probation and/or supervised release: (1) "The defendant shall notify the
 Financial Litigation Unit, United States Attorney's Office, in writing, of any interest in
 property obtained, directly or indirectly, including any interest obtained under any other
 name, or entity, including a trust, partnership or corporation after the execution of this
 agreement until all fines, restitution, money judgments and monetary assessments are paid
 in full" and (2) "The Defendant shall notify the Financial Litigation Unit, United States
 Attorney's Office, in writing, at least 30 days prior to transferring any interest in property
 owned directly or indirectly by Defendant, including any interest held or owned under any
 other name or entity, including trusts, partnership and/or corporations until all fmes,
 restitution, money judgments and monetary assessments are paid in full."

       The parties will also jointly recommend that as a condition of probation or
 supervised release, Defendant will notify the Financial Litigation Unit, United States
 Attorney's Office, before Defendant transfers any interest in property owned directly or


                                                                Defendant's Initials:   Jf
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                                          Page 5 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 5 of 14 Pageid#: 73
 indirectly by Defendant, including any interest held or owned under any other name or
 entity, including trusts, partnership and/or corporations. See 18 U.S. C.§§ 3664(k), (n).

        Regardless of whether or not the Court specifically directs participation or imposes
 a schedule of payments, I agree to fully participate in inmate employment under any
 available or recommended programs operated by the Bureau of Prisons.

         I agree any payments made by me shall be applied fully to the non-joint and several
 portion of my outstanding restitution balance until the non-joint and several portion of
 restitution is paid in full, unless the Court determines that to do so would cause a hardship
 to a victim of the offense(s).

        b. Duty to Make Financial Disclosures

        I understand in this case there is a possibility that substantial fines and/or restitution
 may be imposed. In order to assist the United States as to any recommendation and in any
 necessary collection of those sums, I agree, if requested by the United States, to provide a
 complete and truthful fmancial statement to the United States Attorney's Office, within 30
 days of the request or 3 days prior to sentencing, whichever is earlier, detailing all income,
 expenditures, assets, liabilities, gifts and conveyances by myself, my spouse and my
 dependent children and any corporation, partnership or other entity in which I hold or have
 held an interest, for the period starting on January 1st of the year prior to the year my
 offense began and continuing through the date of the statement. This fmancial statement
 shall be submitted in a form acceptable to the United States Attorney's office.

       From the time of the signing of this agreement or the date I sign the fmancial
 statement, whichever is earlier, I agree not to convey anything of value to any person
 without the authorization of the United States Attorney's Office.

        c. Understanding of Collection Matters

        I understand:

        1. as part of the judgment in this case I will be ordered to pay one or more monetary
           obligations;
        2. payment should be made as ordered by the Court;
        3. I must mail payments, by cashier's check or money order, payable to the "Clerk,
           U.S. District Court" to: 210 Franklin Road, S.W., Suite 540, Roanoke, Virginia
           24011; and include my name and court number on the check or money order;



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                                                                  Defendant's Initials: --=-=--

                                           Page 6 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 6 of 14 Pageid#: 74
       4. interest (unless waived by the Court) and penalties must be imposed for late or
          missed payments;
       5. the United States may file liens on my real and personal property that will remain
          in place until monetary obligations are paid in full, or until liens expire (the later
          of 20 years from date of sentencing or release from incarceration);
       6. if I retain counsel to represent me regarding the United States' efforts to collect
          any of my monetary obligations, I will immediately notify the United States
          Attorney's Office, ATTN: Financial Litigation Unit, P.O. Box 1709, Roanoke,
          Virginia 24008-1709, in writing, of the fact of my legal representation; and
       7. I, or my attorney if an attorney will represent me regarding collection of
          monetary obligations, can contact the U.S. Attorney's Office's Financial
          Litigation Unit at 540/857-2259.

 C. ADDITIONAL MATTERS

    1. Waiver of Right to Appeal

        Knowing that I have a right of direct appeal of my sentence under 18 U.S.C. §
 3742(a) and the grounds listed therein, I expressly waive the right to appeal my sentence
 on those grounds or on any ground. In addition, I hereby waive my right of appeal as to
 any and all other issues in this matter and agree I will not file a notice of appeal. I am
 knowingly and voluntarily waiving any right to appeal. By signing this agreement, I am
 explicitly and irrevocably directing my attorney not to file a notice of appeal.
 Notwithstanding any other language to the contrary, I am not waiving my right to appeal
 or to have my attorney file a notice of appeal, as to any issue which cannot be waived, by
 law. I understand the United States expressly reserves all of its rights to appeal. I agree
 and understand if I file any court document (except for an appeal based on an issue
 that cannot be waived by law, or a collateral attack based on ineffective assistance of
 counsel) seeking to disturb, in any way, any order imposed in my case, such action
 shall constitute a failure to comply with a provision of this agreement. I understand
 that my knowing and voluntary waiver of the right to appeal or collaterally attack my
 conviction and sentence includes a waiver of the right to raise on appeal or on
 collateral review any argument that (1) the statute to which I am pleading guilty is
 unconstitutional and (2) the conduct to which I am admitting through my guilty plea
 does not fall within the scope of the statute.

    2. Waiver of Right to Collaterally Attack

        I waive any right I may have to collaterally attack, in any future proceeding, any


                                                                Defendant's Initials:   Jf
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                                         Page 7 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 7 of 14 Pageid#: 75
 order issued in this matter, unless such attack is based on ineffective assistance of counsel,
 and agree I will not file any document which seeks to disturb any such order, unless such
 filing is based on ineffective assistance of counsel. I agree and understand that if I file
 any court document (except for an appeal based on an issue not otherwise waived in
 this agreement; an appeal based on an issue that cannot be waived by law; or a
 collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
 way, any order imposed in my case, such action shall constitute a failure to comply
 with a provision of this agreement.

    3. Information Access Waiver

        I knowingly and voluntarily agree to waive all rights, whether asserted directly or
 by a representative, to request or receive from any department or agency of the United
 States any records pertaining to the investigation or prosecution of this case, including
 without limitation any records that may be sought under the Freedom of Information Act,
 5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S. C. §552a.

    4. Abandonment of Seized Items

         By signing this plea agreement, I hereby abandon my interest in, and consent to the
 official use, destruction or other disposition of each item obtained by any law enforcement
 agency during the course of the investigation, unless such item is specifically provided for
 in another provision of this plea agreement. I further waive any and all notice of any
 proceeding to implement the official use, destruction, abandonment, or other disposition of
 such items.

    5. Deportation

        I understand ifl am not a citizen of the United States, I may be subject to deportation
 from· the United States, denied United States citizenship, and denied admission to the
 United States in the future, as a result of my conviction for the offenses to which I am
 pleading guilty.

    6. Interstate Agreement on Detainers Waiver

        I understand that the Interstate Agreement on Detainers Act (IADA), 18 U.S.C. §
 App. § 2 Art. IV(e), may be applicable to my case. To the extent that the IADA applies, I
 understand that the IADA provides for the disposition of my case within certain time
 frames. Having been informed of this right, I expressly waive any such right under the



                                                                Defendant's Initials:   JF
                                          Page 8 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 8 of 14 Pageid#: 76
 IADA and request that disposition of my case instead be governed exclusively by the
 SpeedyTrialAct, Title 18, U.S.C. § 3161.

    7. Admissibility of Statements

        I understand if I fail to plead guilty in accordance with this agreement or withdraw
 my plea of guilty, any statements I make (including this plea agreement, and my admission
 of guilt) during or in preparation for any guilty plea hearing, sentencing hearing, or other
 hearing, and any statements I make or have made to law enforcement agents in any setting
 (including during a proffer), may be used against me in this or any other proceeding. I
 knowingly waive any right I may have under the Constitution, any statute, rule or other
 source of law to have such statements, or evidence derived from such statements,
 suppressed or excluded from being admitted into evidence and stipulate that such
 statements can be admitted into evidence.

    8. Additional Obligations by the Parties

        I agree not to commit any of the following acts:

           •   attempt to withdraw my guilty plea;
           •   deny I committed any crime to which I have pled guilty;
           •   make or adopt any arguments or objections to the presentence report that are
               inconsistent with this plea agreement;
           •   obstruct justice;
           •   fail to comply with any provision of this plea agreement;
           •   commit any other crime;
           •   make a false statement; or
           •   fail to enter my plea of guilty when scheduled to do so, unless a continuance
               is agreed to by the United States Attorney's Office and granted by the Court.

        If I comply with my obligations under this agreement, then the United States will
 request, prior to sentencing, the transfer of primary jurisdiction from the Commonwealth
 of Virginia to the Federal Government.

    9. Completion of Prosecution

        The United States agrees that if I comply with my obligations under this plea
 agreement, it will not charge me with any additional criminal offenses in violation of
 federal law which were committed within the Western District of Virginia or the Northern


                                                              Defendant's Initials: ....l!Jf~--

                                         Page 9 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 9 of 14 Pageid#: 77
  District of Ohio prior to the execution of this agreement, and about which the Assistant
  United States Attorney whose name appears on this document· was aware prior to the
  execution of this agreement.

  D. REMEDIES AVAILABLE TO THE UNITED STATES

          I hereby stipulate and agree that the United States Attorney's Office may, at its
  election, pursue any or all of the following remedies if I fail to comply with any provision
  of this agreement: (a) declare this plea agreement void; (b) refuse to dismiss any charges;
  (c) reinstate any dismissed charges; (d) file new charges; (e) withdraw any substantial
  assistance motion made, regardless of whether substantial assistance has been performed;
  (f) refuse to abide by any provision, stipulation, and/or recommendation contained in this
  plea agreement; or (g) take any other action provided for under this agreement or by statute,
  regulation or court rule.

         In addition, I agree if, for any reason, any of my convictions are set aside, or I fail
  to comply with any obligation under the plea agreement, the United States may file, by
  indictment or information, any charges against me which were filed and/or could have been
  filed concerning the matters involved in the instant investigation. I hereby waive my right
  under Federal Rule of Criminal Procedure 7 to be proceeded against by indictment and
  consent to the filing of an information against me concerning any such charges. I also
  hereby waive any statute of limitations defense as to any such charges.

         The remedies set forth above are cumulative and not mutually exclusive. The
  United States' election of any of these remedies, other than declaring this plea agreement
  void, does not, in any way, terminate my obligation to comply with the terms of the plea
  agreement. The use of"if' in this section does not mean "if, and only if."

  E. GENERAL PROVISIONS

     1. Conditional Nature of Agreement

          It is understood by the parties that this plea agreement is conditioned upon approval
  by the Attorney General of the United States. Absent such approval, this agreement is null
  and void. The parties understand that the signature of the United States Attorney on this
  agreement does not constitute a recommendation to the Attorney General of the United
  States that the agreement should be approved. The parties further agree that if the Attorney
  General does not approve this agreement, it is not admissible at trial for any purpose, in




                                                                 Defendant's Initials:   JF
                                          Page 10 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 10 of 14 Pageid#: 78
  either the guilt/innocence or penalty phases, including as evidence that the United States
  Attorney's Office supported a plea agreement in this case.

     2. Limitation of Agreement

         This agreement only binds the United States Attorney's Office for the Western
  District of Virginia and the Civil Rights Division of the U.S. Department of Justice, except
  as provided in Section C, paragraph 9 above. It does not bind any state or local prosecutor,
  or any other United States Attorney's Office or other office or agency of the United States
  Government, including, but not limited to, the Tax Division of the United States
  Department of Justice, or the Internal Revenue Service of the United States Department of
  the Treasury. These individuals and agencies remain free to prosecute me for any
  offense(s) committed within their respective jurisdictions.

     3. Effect of My Signature

         I understand my signature on this agreement constitutes a binding offer by me to
  enter into this agreement. I understand the United States has not accepted my offer until
  the Attorney General for the United States provides his approval of the agreement, as
  specified in Section E, paragraph 1, above.

     4. Effective Representation

          I have discussed the terms of the foregoing plea agreement and all matters pertaining
  to the charges against me with my attorney and am fully satisfied with my attorney and my
  attorney's advice. At this time, I have no dissatisfaction or complaint with my attorney's
  representation. I agree to make known to the Court no later than at the time of sentencing
  any dissatisfaction or complaint I may have with my attorney's representation.

     5. Misconduct

         If I have any information concerning any conduct of any government attorney,
  agent, employee, or contractor which could be construed as misconduct or an ethical, civil,
  or criminal violation, I agree to make such conduct known to the United States Attorney's
  Office and the Court, in writing, as soon as possible, but no -later than my sentencing
  hearing.




                                                                Defendant's Initials:   Jf
                                          Page 11 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 11 of 14 Pageid#: 79
     6. Final Matters

         I understand a thorough presentence investigation will be conducted and sentencing
  recommendations independent of the United States Attorney's Office will be made by the
  presentence preparer, which the Court may adopt or take into consideration. I understand
  any calculation regarding the guidelines by the United States Attorney's Office or by my
  attorney is speculative and is not binding upon the Court, the Probation,Office or the United
  States Attorney's Office. No guarantee has been made by anyone regarding the effect of
  the guidelines on my case.

         I understand the prosecution will be free to allocute or describe the nature of this
  offense and the evidence in this case and make any recommendations not prohibited by
  this agreement.

          I understand the United States retains the right, notwithstanding any provision in
  this plea agreement, to inform the Probation Office and the Court of all relevant facts, to
  address the Court with respect to the nature and seriousness of the offenses, to respond to
  any questions raised by the Court, to correct any inaccuracies or inadequacies in the
  presentence report, and to respond to any statements made to the Court by or on behalf of
  the defendant.

          I willingly stipulate there is a sufficient factual basis to support each and every
  material factual allegation contained within the charging document to which I am pleading
  guilty.

          I understand this agreement does not apply to any crimes or charges not addressed
  in this agreement. I understand if I should testify falsely in this or in a related proceeding
  I may be pros~cuted for perjury and statements I may have given authorities pursuant to
  this agreement may be used against me in such a proceeding.

          I understand my attorney will be free to argue any mitigating factors on my behalf;
  to the extent they are not inconsistent with the terms of this agreement. I understand I will
  have an opportunity to personally address the Court prior to sentence being imposed.

         This writing sets forth the entire understanding between the parties and constitutes
  the complete plea agreement between the United States Attorney for the Western District
  of Virginia and me, and no other additional terms or agreements shall be entered except
  and unless those other terms or agreements are in writing and signed by the parties. This
  plea agreement supersedes all prior understandings, promises, agreements, or conditions,



                                                                                        Jf
                                                                 Defendant's Initials: -=-----

                                          Page 12 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 12 of 14 Pageid#: 80
  if any, between the United States and me.

          I have consulted with my attorney and fully understand all my rights. I have read
  this plea agreement and carefully reviewed every part of it with my attorney. I understand
  this agreement and I voluntarily agree to it. I have not been coerced, threatened, or
  promised anything other than the terms of this plea agreement, described above, in
  exchange for my plea of guilty. Being aware of all of the possible consequences of my
  plea, I have independently decided to enter this plea of my own free will, and am affirming
  that agreement on this date and by my signature below.

  Date: /()..[HilS




                                                               Defendant's Initials: ~Jf~--

                                         Page 13 of 14



Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 13 of 14 Pageid#: 81
         I have fully explained all rights available to my client with respect to the offenses
 listed in the pending charging document(s). I have carefully reviewed every part of this
 plea agreement with my client. To my knowledge, my client's decision to enter into this
 agreement is an informed and voluntary one.

         Ifl will continue to represent my client regarding the United States' efforts to collect
 any monetary obligations, I will notify the United States Attorney's Office, ATTN:
 Financial Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24008-1709, in writing, of
 the fact of my continued legal representation within 10 days of the entry of judgment in
 this case.


                                                       A~~dli---
    Date                                                   Frederick T.  ~
                                                           Interim Federal Public Defender
                                                           Western District of Virginia
                                                           ?Y:,i?i~
    Date    1
                                                           ~.Lorfsb
                                                           Assistant Federal Public Defender
                                                           Western District of Virginia

                                                           ~ ~Fi~elLd-s~--
    ~-~1-19
    Date                                                   Thomas T. Cullen
                                                           United States Attorney
                                                           Western District of Virginia



                                                                 opherKavan
                                                           Assistant United States Attorney
                                                           Western District of Virginia


                                                            ~~
                                                           Risa Berkower
                                                           Rachel Kincaid
                                                           Trial Attorneys
                                                           Civil Rights Division
                                                           U.S. Department of Justice



                                                                 Defendant's Initials:   JF
                                          Page 14 of l't

Case 3:18-cr-00011-MFU Document 42 Filed 03/27/19 Page 14 of 14 Pageid#: 82
